                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 ALVA ADVANCE LLC,                )
                                  )
      Petitioner,                 )
                                  )
                  v.              )    Civil Action No. 1:23-cv-10189-AK
                                  )
                                  )
 WILLIAM H III ALTIERI            )
      Respondent,                 )
                                  )
                       CERTIFICATE OF SERVICE


I, Matthew S. Szafranski hereby certify that I am employed by Alva Advance, LLC and am of
such age and discretion as to be competent to serve papers. I further certify that on this date I
caused a copy of the Motion for Entry of Default, Affidavit in Support of Motion for Entry of
Default and proposed Entry of Default to be placed in a postage-paid envelope addressed to the
respondent, at the address stated below, which is the last known address of said respondent, and
deposited said envelope in the United States mail.


William H III Altieri, aka William H Altieri, III
334 King Caesar Road
Duxbury, MA 02332


Dated this 3rd day March, 2023
